      Case 4:23-cv-00163-AW-MJF Document 88 Filed 09/07/23 Page 1 of 1




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,
      Plaintiff,
v.                                                   Case No. 4:23-cv-163-AW-MJF
RONALD D. DESANTIS, in his official
capacity as GOVERNOR OF FLORIDA,
et al.,
     Defendants.
_______________________________/
           ORDER DENYING AS MOOT MOTIONS TO DISMISS

      Plaintiff has filed a Second Amended Complaint (ECF No. 87). Accordingly,

the motions to dismiss the First Amended Complaint (ECF Nos. 49, 50) are DENIED

as moot. Defendants must respond to the Second Amended Complaint within 14

days. See Fed. R. Civ. P. 15(a)(3).

      Alternatively, if the parties wish to stipulate that the earlier motions to dismiss,

response, and replies (to the extent applicable to the remaining claim) should be

directed to the Second Amended Complaint, they may file a joint notice saying so,

and the court will address those arguments as applied to the new pleading.

      SO ORDERED on September 7, 2023.

                                        s/ Allen Winsor
                                        United States District Judge
